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                                   STATEMENT OF FACTS

       Your affiant, Madison Ramsden, is a Special Agent with the Federal Bureau of

Investigation and has been so employed since 2019. Currently I am assigned to a squad that

investigates national security matters. Among my duties, I have been tasked with investigating

criminal activity in and around the U.S. Capitol grounds that occurred on January 6, 2021. As a

Special Agent, I am authorized by law or by a Government agency to engage in or supervise the

prevention, detention, investigation, or prosecution of a violation of Federal criminal laws. The

U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. On January 6, 2021, National Guard

troops were present to assist the United States Capitol Police. Restrictions around the U.S. Capitol

include permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol. On

January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of the public.

       On January 6, 2021, a joint session of the United States Congress convened at the United

States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,

elected members of the United States House of Representatives and the United States Senate were

meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral

College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint

session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the

House and Senate adjourned to separate chambers to resolve a particular objection. Vice President

Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President

Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.

As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
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Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away

from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;

however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of the U.S. Capitol Police, as others

in the crowd encouraged and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of

Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session

of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

President Pence remained in the United States Capitol from the time he was evacuated from the

Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.

       The Federal Bureau of Investigation received a number of tips providing videos and

screenshots of MATHEW CAPSEL (“CAPSEL”) and his activities relating to the events on

January 6, 2021, including the tips detailed below.
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       On or about January 8, 2020, the FBI received a tip from Witness 1 who submitted

screenshots of a Facebook page with the name “Mateo Q Capsel” and a video posted by the

Facebook account. Witness 1 reported that they had seen multiple videos of CAPSEL “on the

frontline of the riot and breach”. Witness 1 reported that they were a former neighbor of CAPSEL

and that CAPSEL was “known to be violent”.

       On or about January 13, 2020, the FBI received a tip from Witness 2 who submitted

screenshots of Facebook posts by “Mateo Q Capsel” stating that they are friends on social media

with CAPSEL and that CAPSEL “was at Capitol building when the protesters and rioters got on

the building before entering” and had video of this on his Facebook page.

       Your affiant reviewed video posted on social media in which it appears that CAPSEL is

fighting against National Guardsmen attempting to hold the line with riot shields.

       The following screenshots are taken from a video posted on TikTok by @mateoqcapsel,

an account which I believe to be used by CAPSEL, showing CAPSEL’s physical appearance and

attire during the Capitol riot. CAPSEL has distinctive tattoos on his face and neck, and is wearing

a red, white, and blue hat with a design on the front. His black shirt bears a recognizable design,

and he is wearing a brown necklace.
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        Your affiant compared the aforementioned screenshots with the defendant’s driver’s

license photograph (depicted below) and confirmed his identity. The defendant has the same

features and identifiable facial tattoo.
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       The following screenshots are taken from a video posted on TikTok by Witness 3, who

was a witness to the events in the video, and reposted to the account @mateoqcapsel. Your affiant

spoke to Witness 3 who recorded the video and was informed that the timestamp of the video was

18:23 EST January 6, 2021. In this video, CAPSEL, identifiable by the tattoos on his face and

neck, and wearing the same hat, shirt, and necklace, is fighting against National Guardsmen until

he is pepper sprayed, as shown in the last screenshot. Specifically, the video depicts CAPSEL

charging against a lined group of National Guardsman, running into their protective shields.
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       Based on the foregoing, your affiant submits that there is probable cause to believe that

CAPSEL violated 18 U.S.C. § 1752(a)(1) and (4) , which makes it a crime to (1) knowingly enter

or remain in any restricted building or grounds without lawful authority to do so; and (4) knowingly

engages in any act of physical violence against any person or property in any restricted building

or grounds; or attempts or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted

building” includes a posted, cordoned off, or otherwise restricted area of a building or grounds

where the President or other person protected by the Secret Service, including the Vice President,
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is or will be temporarily visiting; or any building or grounds so restricted in conjunction with an

event designated as a special event of national significance.

       Your affiant also submits that there is probable cause to believe that CAPSEL violated 18

U.S.C. § 111, which makes it a crime to forcibly assault, resist, oppose, impede, intimidate, or

interfere with any person designated in section 1114 of this title (see below) while engaged in or on

account of the performance of official duties. Section 111 applies to “any officer or employee of the

United States or of any agency in any branch of the United States Government (including any

member of the uniformed services).” 18 U.S.C. § 1114.

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       Finally, your affiant submits there is probable cause to believe that CAPSEL violated 18

U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,

impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful

performance of his official duties incident to and during the commission of a civil disorder which

in any way or degree obstructs, delays, or adversely affects commerce or the movement of any

article or commodity in commerce or the conduct or performance of any federally protected

function. For purposes of Section 231 of Title 18, a federally protected function means any

function, operation, or action carried out, under the laws of the United States, by any department,

agency, or instrumentality of the United States or by an officer or employee thereof. This includes

the Joint Session of Congress where the Senate and House count Electoral College votes.


                                                     Respectfully submitted,



                                                     _________________________________
                                                     Special Agent Madison Ramsden
                                                     Federal Bureau of Investigation

Attested to by the applicant telephonically in accordance with the requirements of Fed. R.
Crim. P. 4.1 by telephone, this 19th day of January 2021.
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                                                                   17:44:16 -05'00'
                                                     ___________________________________
                                                     ROBIN M. MERIWEATHER,
                                                     U.S. MAGISTRATE JUDGE
